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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                               X
SCOTT SCHNALL, P.E.,
                                                                     Docket No.   1:17-cv-2412
                                Plaintiff,

         -against-
                                                                            COMPLAINT
THE CITY OF NEW YORK, DEPARTMENT OF                                      Ju►y Trial Demanded
BUILDINGS, RICK D. CHANDLER, in his capacity as
Commissioner of the Department of Buildings, ADAM
AARON ARCHITECT, P.C., and ADAM WAPNIAK,

                                Defendants.
                                                             X

         Plaintiff Scott Schnall, P.E., by his attorneys, Rosenberg & Estis, P.C., as and for his

complaint against defendants the City of New York (the "City"), acting by and through its

Department of Buildings (the "Department"), Rick D. Chandler (the "Commissioner" and,

together with the City and the Department, the "City Defendants"), Adam Wapniak ("Wapniak")

and Adam Aaron Architect P.C. ("Adam Aaron Architect" and, together with Wapniak, the

"Wapniak Defendants"), alleges upon knowledge as to his own actions, and upon information

and belief as to all other matters, as follows:

                                   NATURE OF THIS ACTION

         1.       This case involves, inter alia, the City Defendants' unlawful retaliatory actions

and selective enforcement of the Department's regulations against Plaintiff for stating that the

Department is "screwed up" and criticizing the notorious delays and inefficiencies in the

Department's permit review and approval process as reported by the New York Times on

December 14, 2014 in an article entitled: "Renovating? Don't Forget the Expediter" (the "NY

Times Article").




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         2.       The City Defendants' actions violate 42 U.S.C. § 1983 and Plaintiff's rights under

the First and Fourteenth Amendments of the United States Constitution.

         3.       In retaliation for Plaintiffs widely-published criticisms of the Department, the

City Defendants decided to, inter alia: (a) illegally target Plaintiff for selective enforcement of

the Department's regulations and audit his jobs; (b) bring trumped-up charges and specifications

against Plaintiff in an administrative enforcement proceeding for allegedly filing either

knowingly or negligently false statements with the Department; (c) reject an administrative law

judge's (the "ALF) recommendation of a temporary penalty and, instead, permanently revoke

Plaintiffs filing privileges with the Department, thus destroying Plaintiffs business and his

ability to earn a living; and (d) issue at least 282 stop work orders to Plaintiffs clients on the

false basis that an "imminent peril to life or property exists" without inspecting any of the

properties to validly determine whether such "imminent peril" actually exists.

         4.       In fact, within a few months of the publication of the NY Times Article, the City

Defendants had completed its audit of Plaintiff, drafted a nineteen-page Petition, and filed it with

the Office of Administrative Hearings and Trials ("OATH").

         5.       After an administrative hearing at OATH, the ALJ dismissed nearly half of the

Department's trumped-up specifications against Plaintiff.

         6.       While the All did sustain certain specifications (erroneously), the ALJ

acknowledged that, although the City charged Plaintiff with eleven instances of knowingly

making a false statement, eight of those instances were either entirely dismissed or sustained as

negligent filings only.




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         7.       In a separate charge, the City alleged nine additional instances of negligent

conduct against Plaintiff as a basis for seeking to revoke his filing privileges. However, five of

those instances were completely dismissed.

         8.       As such, based on the limited specifications that were sustained, the All

recommended, among other things, temporarily revoking Plaintiffs filing privileges with the

Department and allowing Plaintiff to seek reinstatement after one year with appropriate

conditions (such as probation) (the "ALJ Recommendation").

         9.       This simply was not punitive enough for the Department and the Commissioner,

as they were determined to permanently ruin Plaintiffs life and his business due Plaintiffs

statements about the Department's review and approval process being "screwed up" that were

published in the NY Times Article.

         10.      Accordingly, in further retaliation for Plaintiffs statements to the New York

Times, the Commissioner refused to adopt the All Recommendation (even though he purported

to adopt the ALJ's factual findings).

         11.      Instead, the Commissioner decided to impose a shockingly severe, unwarranted,

and disproportionate penalty upon Plaintiff by permanently revoking Plaintiff's filing privileges

with no opportunity for reinstatement (the "Draconian Determination").

         12.      The Department and the Commissioner have not targeted and inflicted such

severe and disproportionate penalties on professionals similarly situated to Plaintiff.

         13.      The Draconian Determination destroys Plaintiffs business and ability to earn a

living for his family because all of his business is derived from New York City — where Plaintiff

has successfully worked his entire life.




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         14.      Apparently unsatisfied with preventing Plaintiff from ever again working in New

York City, the Commissioner arbitrarily extended the Draconian Determination to engulf

Plaintiff's clients, similarly upending, disrupting, and irreparably injuring their lives and

businesses.

         15.      Indeed, as a means of further retaliating against Plaintiff due to his statements that

appeared in the NY Times Article and to ensure that his business cannot survive, the

Commissioner decided to make his Draconian Determination applicable not only to new filings

by Plaintiff, but also to all of Plaintiff's previously approved jobs/applications (at least 282 in

total) where work was in progress notwithstanding the fact that the jobs were entirely unrelated

to any of the Department's charges against Plaintiff.

         16.      To effectuate this additional punitive measure, the Department decided to

recklessly issue at least 282 stop work orders and permit revocation notices to Plaintiffs clients

pursuant to CITY ADMIN. CODE § 28-105.10.2 based on the alleged (but entirely fabricated) basis

that the Commissioner has "determined" that an "imminent peril to life or property exists."

         17.      In point of fact, neither the Department nor the Commissioner inspected any of

the properties of Plaintiffs clients prior to issuing the 282 stop work orders and upending

hundreds of lives and businesses throughout Brooklyn, causing irreparable harm to both Plaintiff

and his clients.

         18.       As noted, neither the Commissioner nor the Department made any allegation of

an "imminent peril" during the period from June 2015 (when they filed the Petition) through

February 2016 (when the Commissioner issued the Draconian Determination).




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         19.      Having failed to conduct a single inspection, the Commissioner could not have

validly "determined" that an "imminent peril to life or property exists." Rather, this was yet

another decision made by the City Defendants to retaliate against Plaintiff.

         20.      On March 28, 2017, Plaintiff, together with several of his clients, as additional

plaintiffs, commenced an action in State Court seeking, inter alia, review of the Draconian

Determination and permanent injunctive relief with respect to the stop work orders and permit

revocation notices. See Schnall v. City of New York., (N.Y. Sup. Ct., Kings County, Index No.

506129/17) (the "State Court Action").

         21.      Simultaneously, the plaintiffs in the State Court Action moved by order to show

cause for a preliminary injunction against the City Defendants based upon the irreparable injury

suffered by Plaintiff and his clients resulting from the Department's illegal, retaliatory, and

reckless decision to issue 282 stop work orders and permit revocation notices to previously

approved jobs for which there had been no showing of any "imminent peril."

         22.      Supreme Court (Dear and Levine, JJ.) granted Plaintiff a temporary restraining

order, requiring, among other things, the Department to rescind all 282 stop work orders and to

allow all active and current permits to proceed with ongoing work.

         23.      Plaintiff now brings this action pursuant to 42 U.S.C. § 1983 to redress the City

Defendants' violations of his constitutional rights including his rights to freedom of speech and

equal protection under the First and Fourteenth Amendments of the United States Constitution.

         24.      Plaintiff also seeks a declaratory judgment pursuant to 28 U.S.C. §§ 2201 and

2202 annulling CITY ADMIN. CODE § 28-105.10.2 because the provision's unconstitutional

vagueness and overbreadth enabled the City Defendants to retaliate against him and violate his

rights under the First and Fourteenth Amendments.



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         25.     This case also involves the Wapniak Defendants' tortious interference with

Plaintiff's contracts and business relationships with Plaintiff's clients.

         26.      Wapniak testified against Plaintiff during the OATH hearing.

         27.     Plaintiff would later learn that Wapniak's testimony was tainted and motivated by

his desire to steal hundreds of Plaintiff's clients whose construction projects were shut down by

the stop work orders.

         28.     Indeed, shortly after the Commissioner issued the Draconian Determination,

Wapniak and his company, Adam Aaron Architect, sought to capitalize on his position and the

knowledge he obtained as the Department's Queens County Borough Commissioner to

intentionally interfere with the contracts and business relationships between Plaintiff and his

clients by offering to step in as the professional of record and get the projects moving again — for

a fee, of course.

                                          THE PARTIES

        29.      Plaintiff is a natural person domiciled in Kings County, New York. Plaintiff also

has a business address located in Kings County, New York.

        30.      For over 27 years and at all relevant times, Plaintiff, a professional engineer, has

helped low and middle income New Yorkers navigate the increasingly complex permit

application and approval process of the Department.

        31.      The City is a domestic municipal corporation duly organized under the laws of the

State of New York, acting by and through the Department.

        32.      The Commissioner is a natural person and, at all relevant times, the

Commissioner of the Department.




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         33.      Wapniak is a natural person domiciled in Kings County, New York. Wapniak is

also a former Queens County Borough Commissioner of the Department and is currently

President of Adam Aaron Architect.

         34.      Defendant Adam Aaron Architect P.C. ("Adam Aaron Architect" and, together

with Wapniak, the "Wapniak Defendants") is a New York professional corporation created on

May 13, 2008, having offices c/o Adam Wapniak 800 Greenwood Avenue, 1G, Brooklyn, New

York 11218.

                                   JURISDICTION AND VENUE

         35.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331, 1343,

1367, and 2201 and 42 U.S.C. § 1983.

         36.      Venue lies in this District pursuant to 28 U.S.C. § 1391. A substantial part of the

events giving rise to this action occurred in this District.

                                      BACKGROUND FACTS

         37.      For more than 80 years, the Schnall family business (which Plaintiffs grandfather

started) has helped thousands of families, business, owners, and developers navigate the

Department's maze of rules and to obtain permits and approvals for both residential and

commercial projects in New York City.

         38.      Plaintiff is a widely-respected fixture in the New York real estate world,

personally filing thousands of applications with the Department and obtaining thousands of

approvals during his 27-year career as a professional engineer.

         39.      The majority of Plaintiff's clients are low and middle income people who rely on

Plaintiffs honest advice and cost-effective services to complete their projects.

         40.      Plaintiff has run his business with integrity and respect for the Department's rules

and processes.

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         41.      The Department had never (until the NY Times Article was published) charged

Plaintiff with violating any rules or regulations during his 27-year career.

                            AS AND FOR A FIRST CAUSE OF ACTION
                          (42 U.S.C. § 1983 — First Amendment Retaliation)

         42.      Plaintiff repeats all prior statements.

         43.      In July 2014, the Commissioner was appointed to the Department.

         44.      Later that year, in December 2014, Joanne Kaufman, a New York Times reporter,

asked Plaintiff to comment for her story about the Department and the role of expediters.

         45.      Plaintiff agreed to the interview and shared his experiences and honest opinions

about the Department with Ms. Kaufman.

         46.      The New York Times published the article on December 14, 2014, including a

color photograph of Plaintiff and his following quote about the Department's review process:

                          You go back and forth and back and forth. That
                          could take one day or one million days. It's true.
                          The whole system is much more screwed up than
                          you could ever imagine.

         47.      Plaintiff was also quoted in the article as stating:

                          My expediters can get to the D.O.B. at 5:30 a.m.
                          and leave at 2[:00] p.m. with nothing done. In the
                          real world when you have 20 things to do and you
                          get them done, that's success. In this world, when
                          you get two things done you get excited.

         48.      Plaintiffs knowledge, expertise, longevity, and reputation for honesty are the

reasons that the New York Times sought his insight and published his comments about the

Department.

         49.      Plaintiffs comments also rang true across the New York real estate world, which

widely agrees that the Department's permit review and approval process is cumbersome and

inefficient.

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         50.     Because of the foregoing, Plaintiffs comments struck a nerve at the Department

and drew the ire of the newly-appointed Commissioner.

         51.     The Commissioner and the Department perceived Plaintiffs statements in the NY

Times Article as damaging to the Department's image and sought to punish him.

         52.     The Commissioner was so concerned about Plaintiffs comments and the damage

to the Department's image that he gave his own interview to the New York Times in March

2015.

         53.     The Commissioner, fresh into his tenure, also sought to make a name for himself,

burnish his credentials, and unfairly make an example of Plaintiff.

        54.      Thus, as a result of the NY Times Article, the Commissioner and the Department

decided to retaliate by targeting Plaintiff for selective enforcement of the Department's rules and

regulations and auditing Plaintiffs open jobs and applications in a scope and in an amount that

were unprecedented in Plaintiffs 27-year career.

        55.      Shortly after the NY Times Article was published, Plaintiff started receiving

letters from the Department notifying him of the audits, listing alleged objections with the

applications, and demanding that Plaintiff meet with the Department's auditors to address the

alleged objections.

        56.      Also shortly after publication of the NY Times Article, Plaintiffs clients and

employees began hearing rumors that the Department decided to target Plaintiff.

        57.      Over the next couple of months, Plaintiff received approximately ten to fifteen

audit notices from the Department in retaliation for his statements in the NY Times Article.

        58.      The Department audited Plaintiffs permit applications as if they were "self-

certified" by Plaintiff, even though virtually all of the applications were not "self-certified."



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         59.      Rather, the Department had previously reviewed and approved all but one of the

audited applications.

         60.      During Plaintiffs 27-year career, this was the first time that the Department

subjected Plaintiff to these types of audits in rapid succession and the NY Times Article was a

substantial and/or motivating factor in its decision to do so.

         61.      Plaintiff cooperated with the Department's audits by, among other things,

preparing audit amendments and paying additional fees to the Department.

         62.       Despite the foregoing, the Department's audit division warned Plaintiff to either

surrender his filing privileges or the Department would strip him of his privileges at an OATH

hearing.

         63.      Even before the Department filed its trumped-up charges against Plaintiff, before

issuance of the ALJ's Recommendation, and before issuance of the Draconian Determination,

the Department's examiners began telling Plaintiffs clients to distance themselves from Plaintiff

and/or to fire Plaintiff because, according to the plan examiners, the Department had decided to

strip Plaintiff of his filing privileges and because Plaintiff would allegedly be losing his State-

issued engineering license.

         64.      In June 2015, in retaliation for Plaintiffs comments in the NY Times Article, the

Department filed a Petition with OATH alleging that Plaintiff had: (a) knowingly or negligently

made false statements in violation of CITY ADMIN. CODE § 28-105.10.2 ("Charge 1");1 (b)

displayed negligence or incompetence in violation of RCNY § 21-02 ("Charge 2"); and

knowingly or negligently made false statements in violation of RCNY § 21-02.




    Plaintiff's third cause of action, infra, seeks a declaratory judgment annulling CITY ADMIN. CODE § 28-105.10.2
    as unconstitutionally vague and overbroad.

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         65.      The Department amended its petition on the eve of the May 2016 OATH hearing

by dropping the third charge and alleging eleven specifications under Charge 1 and nine

specifications under Charge 2 relating to applications that Plaintiff submitted to the Department

between 2010 and 2014.

         66.      The Department presented Wapniak and Fatima Murillo as its only witnesses at

the OATH hearing.

         67.      At no time after auditing Plaintiff's applications, filing its Petition, or during the

more than six months following the hearing while awaiting a decision did the Department allege

that an "imminent peril to life or property exist[ed]" with respect to the applications cited in its

Petition.

         68.      Nor did the Department allege that such "imminent peril" existed with respect to

Plaintiff's hundreds of other applications for which the City Defendants would later issue stop

work orders and permit revocation notices without any legal basis and solely to further retaliate

against Plaintiff for his statements in the NY Times Article.

         69.      Six months after the hearing ended, the All eventually issued a Report and

Recommendation, dated February 10, 2017, determining, among other things, that the

Department failed to prove nine of its twenty alleged specifications and dismissed those nine

specifications.

         70.      In addition, the AU found that the Department had failed to prove eight of the

specifications alleging that Plaintiff made a knowingly false statement. Instead, the AU either

dismissed those specifications or sustained them as negligent conduct only, thus demonstrating

that the Department's charges against Plaintiff were baseless and trumped-up and that the

Department's decision to selectively target Plaintiff was retaliatory in nature.




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         71.      In addition, out of the nine additional charges of negligent conduct alleged by the

Department, more than half were dismissed by the All, thus further demonstrating that the

Department selectively decided to bring trumped-up charges against Plaintiff (many of which

have been dismissed) to retaliate against Plaintiff for his statements in the NY Times Article.

         72.      The three sustained specifications for alleged knowing statements to the

Department related to Plaintiff withdrawing and refiling three applications, a widely-used

practice that the Department has never prohibited and has never promulgated a rule or regulation

prohibiting.

         73.      In fact, with only one exception, the applications that Plaintiff subsequently

refiled were approved by the Department's own plan examiners.

         74.      Many similarly situated professionals refile applications seeking an approval from

the Department in the same manner as Plaintiff.

         75.      The Department has tacitly accepted this practice by never expressly prohibiting

professionals from refiling applications by rule, regulation, or otherwise.

         76.      Based on the limited specifications that were sustained, which primarily consisted

of alleged negligence, the ALJ recommended, among other things, temporarily revoking

Plaintiffs filing privileges with the Department and allowing Plaintiff "the opportunity to seek

reinstatement of those privileges after a year upon the imposition of appropriate conditions, such

as probation."2

         77.      Although the foregoing penalty was already disproportionate to the sustained

charges, the Commissioner decided that the penalty was not punitive enough and was determined


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    As described in the Third and Fourth Causes of Action, infra, Wapniak (who testified against Plaintiff at the
    OATH hearing) subsequently abused his position at the Department and role at the OATH hearing in an
    intentional and malicious attempt to steal Plaintiff's clients, tainting the veracity of Wapniak's testimony at the
    hearing.

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to destroy Plaintiffs business and ensure that he would unable to earn a living for criticizing the

Department in the NY Times Article.

        78.      Accordingly, in further retaliation for Plaintiff's statements to the New York

Times, the Commissioner imposed a shockingly severe, unwarranted, and extremely

disproportionate penalty on Plaintiff by permanently revoking Plaintiff's filing privileges with no

opportunity for reinstatement (the "Draconian Determination").

        79.      The Commissioner's Draconian Determination destroys Plaintiffs business and

his ability to earn a living for his family.

        80.      Apparently unsatisfied with the foregoing, the Commissioner extended his

Draconian Determination to all of Plaintiffs previously-approved, in-progress jobs, even though

the jobs were entirely unrelated to any of the Department's charges against Plaintiff to further

retaliate against Plaintiff for his statements in the NY Times Article.

        81.      Specifically, based on the Commissioner's retaliatory decision, the Department

decided to recklessly issue at least 282 stop work orders and permit revocation notices to

Plaintiffs clients pursuant to CITY ADMIN. CODE § 28-105.10.2 based on the false basis that the

Commissioner has "determined" that an "imminent peril to life or property exist[ed]" at the

clients' properties.

        82.      Neither the Department nor the Commissioner, however, inspected any of the

properties of Plaintiffs clients before issuing the 282 stop work orders and upending hundreds of

lives and businesses throughout Brooklyn, causing irreparable harm to Plaintiff and his clients.

        83.      Having failed to conduct a single inspection of the properties, the Commissioner

could not have validly "determined" anything about the properties, let alone that an "imminent

peril to life or property exists."



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         84.       Rather, this was yet another decision to retaliate against Plaintiff for his

statements in the NY Times Article.

         85.       At the same time, the Department issued permit revocation notices to Plaintiff's

clients stating that: "These actions are the result of the Department revoking the filing privileges

of Scott Schnall, P.E.         ."; thus, the notices contradict the Department's claim in the stop work

orders that the Commissioner had determined that an "imminent peril" existed.

         86.      As set forth in more than fifty Irreparable Injury Affidavits submitted in the State

Court Action (see Schnall v. City of New York, [N.Y. Sup. Ct., Kings County, Index No.

506129/17] [NYSCEF Doc. No. 4]), the Department's actions inflicted broad and severe harm to

innocent people and businesses throughout Brooklyn, including the following harmful

consequences, among others:

               a. families are unable to move into their homes, upending their children's lives and

                  schooling;

               b. much needed affordable housing is being kept off of the market; building and

                  homes are without heat;

               c. "time-of-the-essence" closings are in default and contract deposits are being

                  forfeited;

               d. deadlines for 1031 exchanges are in peril; and

               e. bars/restaurants, art galleries and other small businesses are unable to open,

                  unable to pay rent and unable to keep their employees, leading to landlords not

                  getting paid and not being able to make mortgage and financing payments.




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          87.      The Department intentionally, knowingly, and recklessly caused the foregoing

irreparable injuries to retaliate against Plaintiff for the NY Times Article and to turn his clients

against him, further ensuring that Plaintiff's business would be unable to survive.

          88.      On March 28, 2017, Plaintiff and several of his clients commenced the State

Court Action and simultaneously moved by order to show cause for a preliminary injunction.

          89.      That same day, Supreme Court (Dear, J.) issued a temporary restraining order

that, among other things: (a) enjoined the City Defendants from enforcing the Draconian

Determination; (b) required the City Defendants to rescind all stop work orders issued as a result

of the Draconian Determination and to reinstate the revoked permits; and (c) allowed Plaintiff to

file documents with respect to jobs in progress to "close-out" the jobs.

          90.      Supreme Court (Levine, J.) continued the temporary restraining order by, among

other things: (a) requiring the Department to rescind the stop work orders; (b) allowing all active

and current permits to proceed with ongoing work; and (c) creating a mechanism to "close-out"

completed jobs.3

          91.      By criticizing the Department in comments to the New York Times, Plaintiff

engaged in conduct protected by the First Amendment.

          92.      Acting under the color of law, the City Defendants retaliated against Plaintiff for

his comments in the NY Times Article.

          93.      Plaintiff's statements to the New York Times were the substantial and/or

motivating factor in at least seven adverse decisions taken by the City Defendants against

Plaintiff, to wit:




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      Judge Dear was the signing judge for Plaintiffs application for a temporary restraining order. The State Court
      Action is currently assigned to Judge Levine.

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                a. The City Defendants' decision to target Plaintiff, audit his applications, and treat

                    the applications as "self-certified";

                b. The City Defendants' decision to bring trumped-up charges and selectively

                    enforce the Department's rules and regulations against Plaintiff, some of which

                    have never been promulgated by the Department as required by the City

                    Administrative Procedure Act;

                c. The Commissioner's decision to reject the AU Recommendation and to impose

                   the Draconian Determination instead;

                d. The Commissioner's decision to apply the Draconian Determination to all of

                   Plaintiff's open jobs;

                e. The Commissioner's decision to issue 282 stop work orders to Plaintiff's clients,

                   without inspecting any of the properties to validly determine whether an actual

                   "imminent peril to life or property exists" at the properties;

                f. The Commissioner's decision to issue permit revocation notices to all of

                   Plaintiff's clients; and

                g. The City Defendants' decision to issue violation notices to Plaintiff's clients that

                   state that Plaintiff's State-issued license has been revoked, which is false and

                   defamatory and intended to harm Plaintiff (collectively, the "Retaliatory

                   Decisions").

          94.      The City Defendants' Retaliatory Decisions were designed to destroy Plaintiff's

business and to serve as a warning to others who dared to criticize the Department, chilling free

speech.




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         95.      The Retaliatory Decisions caused Plaintiff significant harm by destroying his

business, reputation, and ability to earn a living for him and his family.

         96.      The Retaliatory Decisions were made with deliberate indifference to Plaintiff's

First Amendment rights.

         97.      The Retaliatory Decisions effectively chilled the exercise of free speech by

Plaintiff and others.

         98.      In fact, former Borough Commissioners, injured third parties, and professionals

that practice before the Department have already declined to speak on the record in fear of the

Department's retaliation.

         99.      Based on the foregoing, Plaintiff has been damaged and is entitled to a money

judgment against the City Defendants in an amount that is currently unknown, but believed to

exceed $10,000,000.00 plus costs and attorneys' fees, the full amount of which shall be

established at trial.

                          AS AND FOR A SECOND CAUSE OF ACTION
                              (42 U.S.C. § 1983 — Equal Protection)

         100.     Plaintiff repeats all prior statements.

         101.     Professionals similarly situated to Plaintiff routinely engage in refiling of

applications with the Department.

         102.     Upon information and belief, Defendants did not target such similarly situated

professionals for Retaliatory Decisions.

         103.     Professionals similarly situated to Plaintiff have violated the same regulations that

Plaintiff allegedly violated.




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         104.      The Commissioner neither permanently barred such similarly situated

professionals from filing applications with the Department nor punitively extended penalties to

the in-progress jobs of these professionals' clients.

         105.      The Commissioner has personally agreed to stipulations of settlement imposing

far lighter penalties for conduct far worse than the conduct that the Department alleged against

Plaintiff

         106.     The Department has only barred filing privileges in rare cases, including in cases

where the professional committed outright fraud against the Department (which is not the case

here).

         107.     Acting under the color of law, the City Defendants arbitrarily targeted Plaintiff for

selective enforcement of the building laws and regulations and for refiling applications (which

the Department does not expressly prohibit).

         108.     The City Defendants' selective treatment of Plaintiff was knowing and either

irrational or motivated by animus toward Plaintiff

         109.      The City Defendants discriminated against Plaintiff on the basis of impermissible

considerations, such as to retaliate against him for his comments in the NY Times Article, or by

a bad-faith intent to injure him.

         110.     The City Defendants' actions violated Plaintiff's constitutional rights, including

his rights under the First and Fourteenth Amendments.

         111.     The City Defendants' actions caused Plaintiff significant injuries, including

permanently damaging his reputation and business and destroying his ability to earn a living.




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         112.      Based on the foregoing, Plaintiff has been damaged and is entitled to a judgment

against the City Defendants in an amount that is currently unknown, but believed to exceed

$10,000,000.00 plus costs and fees, the full amount of which shall be established at trial.

                           AS AND FOR A THIRD CAUSE OF ACTION
                      (Declaratory Judgment — CITY ADMIN. CODE § 28-211.1.2)

         113.      Plaintiff repeats all prior statements.

         114.      The Commissioner and the Department relied on CITY ADMIN. CODE § 28-211.1.2

to retaliate against Plaintiff for his statements in the NY Times Article.

         115.      CITY ADMIN. CODE § 28-211.1.2 provides, as relevant here:

                          [T]he commissioner may refuse to accept an
                          application or other document submitted pursuant to
                          or in satisfaction of a requirement of this code or of
                          a rule of any agency promulgated thereunder that
                          bears the signature of a person who has been found,
                          after a hearing at the office of administrative trials
                          and hearings . . . to have knowingly or negligently
                          made a false statement . . . .

         116.     CITY ADMIN. CODE § 28-211.1.2 is unconstitutional on its face and as applied to

Plaintiff under the First, Fifth, and Fourteenth Amendments of the United States Constitution.

         117.     CITY ADMIN. CODE § 28-211.1.2 is fatally vague and overbroad and failed to

provide Plaintiff with a reasonable opportunity to know what is prohibited.

         118.     CITY ADMIN. CODE § 28-211.1.2 also enables and encourages the City

Defendants' arbitrary, discriminatory, and retaliatory enforcement of the provision on an ad hoc

basis.

         119.     Specifically, allowing the City Defendants to retaliate against "negligently made

false statement[s]" allows them to target, charge, and punish any professional that practices

before the Department (like Plaintiff), restrained only by their own discretion — for example and




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without limitation, the code provision fails to include a definition of "false" or a materiality

requirement.

          120.     As applied by the Commissioner and the Department, a "false" statement is

simply any statement that the Department later determines is incorrect, and authorizes the

Commissioner to permanently revoke a professional's filing privileges even if the statement was

immaterial, inconsequential, or accidental.

          121.     When professionals like Plaintiff submit applications to the Department, they are

interpreting the Zoning Resolution and/or Building Code which (like all areas of the law) are

often ambiguous, unsusceptible to bright-line rules, and subject to multiple interpretations.

          122.     What the City Defendants may consider to be a "false" statement in many

instances is merely a disagreement over subjective legal interpretations — even among the

Department's employees, ten plan examiners could give ten different interpretations and

answers.

         123.      Thus, professionals like Plaintiff are left guessing whether the Department will

approve or object to their applications; these systemic and structural realities forced professionals

to refile applications, which, as noted, the Department has never prohibited by rule, regulation,

or otherwise.

         124.      In addition, the Commissioner and the Department can always (as they did here)

audit a professional's applications and find "false" statements because virtually all audits will

uncover objections — i.e., statements that the Department disagrees with or has a different

interpretation of law or code even if previously approved by a plan examiner — in the

applications.




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         125.      It is also fatally unclear how a negligently-made statement could simultaneously

be "false" because the "false" implies an intent to deceive, not mere carelessness.

         126.      As demonstrated by this case, the City Defendants can use CITY ADMIN. CODE

§ 28-211.1.2 to punish expression protected by the First Amendment.

         127.      Here, City Defendants decided to retaliate against Plaintiff for his statements in

the NY Times Article.

         128.      The Department's retaliatory audits discovered that Plaintiff allegedly refiled

applications with the Department (which the Department subsequently approved), a practice that

the Department had never expressly prohibited by rule, regulation, or otherwise.

         129.     CITY ADMIN. CODE § 28-211.1.2's vagueness and overbreadth, however, enabled

the City Defendants to retaliate against Plaintiff for his statements in the New York Times by

classifying his actions as "false" statements.

         130.     In addition, the City Defendants abused CITY ADMIN. CODE § 28-211.1.2 to

retaliate against Plaintiff because the Department's audits were virtually guaranteed to lead to

objections that the City Defendants could claim were "false" statements.

         131.     In fact, under CITY ADMIN. CODE § 28-211.1.2, a professional's single,

immaterial, and negligent "false" statement allows the Commissioner to permanently revoke the

professional's filing privileges and destroy his or her livelihood.

         132.     Thus, CITY ADMIN. CODE § 28-211.1.2 permits the City Defendants to strip any

professional of his or her filing privileges by simply targeting the professional's applications for

audits and charges because every audit will yield objections (i.e., "false" statements).

         133.     The sole impediment is the Commissioner's and the Department's unchecked

discretion to target and audit the professional's applications and to issue the charges.



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         134.      As a result, Plaintiff has suffered injuries including violations of his rights under

the First, Fifth, and Fourteenth Amendments.

         135.      The City Defendants dispute that CITY ADMIN. CODE § 28-211.1.2 is

unconstitutionally vague and overbroad.

         136.      Thus, an actual and substantial controversy exists between the parties.

         137.      A judicial determination of the rights and obligations of the parties is necessary to

resolve the actual and substantial controversy.

         138.      Plaintiff lacks an adequate legal remedy.

         139.      Plaintiff are entitled to a judgment declaring that CITY ADMIN. CODE § 28-211.1.2

is unconstitutionally vague and overbroad, and void on its face and as applied to Plaintiff and

that all enforcement proceedings based on CITY ADMIN. CODE § 28-211.1.2 taken against

Plaintiff and all other professionals are null and void and of no further force or effect.

                           AS AND FOR A FOURTH CAUSE OF ACTION
                               (Tortious Interference with Contracts)

         140.      Plaintiff repeats all prior statements.

         141.      Just weeks after the Draconian Determination and the Department issued the stop

work orders to Plaintiff's clients, Wapniak (who testified against Plaintiff at the OATH hearing)

attempted to steal Plaintiffs clients and further harm Plaintiff.

         142.      Specifically, Wapniak sent unsolicited emails to Plaintiff's clients referencing the

"revocation of the filing privileges of the professional engineer of record" (i.e., Plaintiff) and

offering to provide services to complete the jobs.

         143.      Plaintiff and his clients are, at all relevant times, parties to contracts (the "Client

Contracts").




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         144.     The Wapniak Defendants were aware of the Client Contracts through Wapniak's

position at the Department and role at the OATH hearing, in which Wapniak testified against

Plaintiff.

         145.     Just weeks after the Draconian Determination, the Wapniak Defendants

intentionally and maliciously induced Plaintiffs clients to breach the Client Contracts by sending

unsolicited emails to the clients in an attempt to steal the clients' business from Plaintiff

         146.     Wapniak sought to personally profit from his position at the Department and role

in the OATH hearing, using his knowledge obtained at the hearing to steal Plaintiffs clients for

the Wapniak Defendants and cause Plaintiffs clients to breach their contracts and agreements

with Plaintiff

         147.     The Wapniak Defendants' actions were intentionally and maliciously calculated

to interfere with the Client Contracts and to profit at Plaintiffs expense.

         148.     Based on the foregoing, Plaintiff has been damaged and is entitled to a money

judgment against the Wapniak Defendants in an amount that is currently unknown, but believed

to exceed $500,000.00 and, in addition, Plaintiff is entitled to punitive damages believed to

exceed $1,500,000.00, the full amount of which shall be established at trial.

                           AS AND FOR A FIFTH CAUSE OF ACTION
                           (Tortious Interference with Business Relations)

         149.     Plaintiff repeats all prior statements.

         150.     Plaintiff had business relationships with the clients that the Wapniak Defendants

targeted with the unsolicited emails.

         151.     The Wapniak Defendants were aware of Plaintiffs business relationships with his

clients through Wapniak's position at the Department and personal involvement in Defendants'

actions against Plaintiff, including testifying against Plaintiff at the OATH hearing.


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         152.     The Wapniak Defendants' actions were intentionally and maliciously calculated

to interfere with Plaintiff's business relationships with his clients.

         153.     The Wapniak Defendants' acted by wrongful means by abusing Wapniak's role at

the Department and the OATH hearing in using information obtained during the hearing to

maliciously interfere with Plaintiffs business relationships for the sole purpose of inflicting

intentional harm on Plaintiff.

         154.     The Wapniak Defendants' actions caused significant damage to Plaintiffs

business relationships with his clients.

         155.     Based on the foregoing, Plaintiff has been damaged and is entitled to a money

judgment against the Wapniak Defendants in an amount that is currently unknown, but believed

to exceed $500,000.00 and, in addition, Plaintiff is entitled to punitive damages believed to

exceed $1,500,000.00, the full amount of which shall be established at trial.

         WHEREFORE, Plaintiff demands judgment in his favor and against the City

Defendants and the Wapniak Defendants as follows:

                  i       On his first cause of action, a money judgment against the City
                          Defendants in an amount that is currently unknown, but believed to exceed
                          $10,000,000.00 plus costs and attorneys' fees, the full amount of which
                          shall be established at trial;

                  ii      On his second cause of action, a money judgment against the City
                          Defendants in an amount that is currently unknown, but believed to exceed
                          $10,000,000.00 plus costs and attorneys' fees, the full amount of which
                          shall be established at trial;

                  iii     On his third cause of action, a judgment declaring that CITY ADMIN. CODE
                          § 28-105.10.2 is unconstitutionally vague and overbroad, and void on its
                          face and as applied to Plaintiff, and that all enforcement proceedings based
                          upon CITY ADMIN. CODE § 28-211.1.2 taken against Plaintiff and all other
                          professionals are null and void and of no further force or effect;

                  iv      On his fourth cause of action, a money judgment against the Wapniak
                          Defendants in an amount that is currently unknown, but believed to exceed


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                          $500,000.00 and, in addition, Plaintiff is entitled to punitive damages
                          believed to exceed $1,500,000.00;

                  v       On his fifth cause of action, a money judgment against the Wapniak
                          Defendants in an amount that is currently unknown, but believed to exceed
                          $500,000.00 and, in addition, Plaintiff is entitled to punitive damages
                          believed to exceed $1,500,000.00; and

                  vi      Granting to Plaintiff such other and further relief against the City
                          Defendants and the Wapniak Defendants as the Court deems just and
                          proper.

Dated:      New York, New York                           ROSENBERG & ESTIS, P.C.
            April 21, 2017                               Attorneys for Plaintiff


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